Case 18-53908-pmb             Doc 32     Filed 05/27/18 Entered 05/27/18 07:12:19                       Desc Main
                                         Document Page 1 of 1
                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


                                                      )
   In re                                              )     Chapter 11
                                                      )
   JOSHUA WILLIAM WADDELL,                            )     Case No. 18-53908-pmb
   Debtor(s)                                          )
                                                      )     BANKRUPTCY JUDGE
                                                      )     PAUL M BAISIER




                     REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
               FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

   PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for The

   Bureaus, Inc. (CAPITAL ONE, N.A.), a creditor in the above-captioned chapter 11 case, requests,

   pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the Bankruptcy Rules) and

   sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as

   amended, the Bankruptcy Code), that all notices given or required to be given and all papers served or

   required to be served in this case be also given to and served, whether electronically or otherwise, on:


               The Bureaus, Inc.
               c/o PRA Receivables Management, LLC
               PO Box 41021
               Norfolk, VA 23541
               Telephone: (877) 829-8298
               Facsimile: (757) 351-3257
               E-mail: claims@recoverycorp.com


   Dated: Norfolk, Virginia
   May 27, 2018
                                                          By: /s/ Valerie Smith
                                                          Valerie Smith
                                                          c/o PRA Receivables Management, LLC
                                                          Senior Manager
                                                          PO Box 41021
                                                          Norfolk, VA 23541
                                                          (877) 829-8298

   Assignee Creditor: CAPITAL ONE, N.A.
